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General lnsolvency Counsel
for Debtors and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
In re: Jointly Administered under
l:| X_TREME BULLETS INC Case No. 18-50609-btb with
AMMQ LOAD wORI:Dwn’;E, lNC_, Case Nos. 18_50610-btb; 18~50611-btb;
[:| CLEARWATER BULLET, INC,, 18-50613-btb; 18-50614-btb; 18-50615-btb;
E FREEDOM MUNITIONS, LLC, 18-50616-btb; and 18-50617-btb
|:] HOWELL MACHINE’ INC" Chapter ll Proceedings
HOWELL MUNITIONS & `
TECHNOLOG¥’ INC., STIPULATION REGARDING SALE OF
|__`| LEWIS_CLARK AMMUNITION EQUIPMENT lN THE ORDINARY COURSE
cOMPONENTS, LLC, OF BUSINESS
I:I COMPONENTS EXCHANGE, LLC,
I:J All Debtors. [No Hearing Set]
Debtors and
Debtors-in-Possession.

 

 

 

 

This Stipulation Regarding Sale of Equipment in the Ordinary Course of Business

(“Stipulation”) is entered into by and among Howell Munitions & Technology, Inc. (“HM'I"’)

and Amrno Load Worldwide, lnc. (“ALW” and, together with HMT, the “Debtors”), debtors and

debtors-in-possession, on one hand, and Z.B., N.A., dba Zions First National Bank (“Zions”)

and the 0ft`1cial Cornmittee of Unsecured Creditors (“Committee”), on the other hand, by and

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through their respective counsel, and is made with reference to the following facts and
circumstances The Debtors, Zions, and the Committee are referred to herein, collectively, as
the “Parties.”

RECITALS

A. On June 8, 2018 (“Petition Date”), the Debtors and related debtors filed petitions
for relief under Chapter 1 1 of the Bankruptcy Code commencing these cases. The Debtors are
managing and operating their businesses as debtors-in-possession pursuant to Sections 1 107
and 1108 of the Bankruptcy Code.

B. ALW builds, refurbishes, and sells refurbished machinery in the ordinary course
of its business.

C. On September 14, 2018, the Debtors received from Sig Sauer, Inc. (“Sig Sauer”)
an offer (“Offer”) to purchase certain equipment identified as “BRUT Headturn/T rim Machine”
(“Equipment”) for $95,000. The Equipment was purchased by the Debtors prior to the Petition
Date and subsequently refurbished by ALW in the ordinary course of its business. A true and
complete copy of the Offer is attached hereto as Exhibit “1” and is incorporated herein by this
reference

D. The Debtors have determined to sell the Equipment to Si g Sauer pursuant to the
terms of the Offer (“Sale”).

E. The Debtors assert that the Sale is the type of transaction that (i) other similarly
situated businesses in the Debtors’ industry would enter into in the ordinary course of business,
and (ii) creditors of the Debtors would reasonably expect the Debtors to enter into in that ALW
is in the business of refurbishing and selling equipment Therefore, the Debtors assert that the
Sale represents a transaction in the ordinary course of the Debtors’ business under the standards
adopted by the Ninth Circuit Court of Appeals in In re Dant & Russell, 853 F.2d 700 (9th Cir.
1988).

F. Both Zions and the Committee acknowledge and agree that the Sale represents a j
transaction in the ordinary course of the Debtors’ business and, accordingly, that the Debtors

may effectuate the Sale without notice to creditors or a hearing thereon.

 

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G. Zions asserts that Zions holds a secured claim in the amount of approximately
$17,529,219 (“Zions Claim”) against the Debtors and related debtors and that the Zions Claim is
secured by duly perfected first-priority liens encumbering substantially all of the Debtors’ assets,
including the Equipment.

H. Zions has demanded, and the Debtors have agreed, that the proceeds of the Sale
(“Sale Proceeds”) will be paid by the Debtors directly to Zions. ln order to satisfy the concerns
expressed by the Oftice of the United States Trustee regarding the payment of pre-petition
claims outside of a Chapter 11 plan, Zions has agreed to hold the Sale Proceeds in a segregated
trust account pending further order of the Court.

I. Out of an abundance of caution, the Debtors desire to obtain ii'om the Court an

order authorizing the Sale as a transaction within the ordinary course of the Debtors’ business.

Zions and the Committee have evaluated the proposed Sale, support the Sale, and agree that the
Sale is within the ordinary course of the Debtors’ business and that proceeding with the Sale
pursuant to this Stipulation is a prudent, economical, and efficient means of resolving any issue
that may exist regarding the Debtors’ right to effectuate the Sale. Accordingly, the Debtors,
Zions, and the Committee support to the Sale in the ordinary course of the Debtors’ business,
subject to an order of this Court approving this Stipulation.
STIPULATION

NOW THEREFORE, in consideration of the above Recitals, and for good and valuable
consideration, the receipt and sufficiency of Which are hereby acknowledged by the Parties, the
Parties, by and through their respective counsel, hereby agree and stipulate as follows:

l. Subject to the approval of the Court, the Debtors are hereby authorized to sell to
Si g Sauer the Equipment pursuant to the terms of the Offer, a transaction within in the ordinary
course of the Debtors’ business, without notice to creditors or a heating thereon.

2. The Sale Proceeds will be paid directly by the Debtor to Zions and Zions will
hold the Sale Proceeds in a segregated trust account pending further order of the Court.

3. The Debtors reserve all rights to object to the Zions Claim.

 

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4. No further notice or healing shall be necessary to effectuate the terms and

conditions of this Stipulation.

Dated: October 3, 2018

Dated: October 3, 2018

Dated: October 3, 2018

WIN'I`HROP COUCHOT
GOLUBOW HOLLANDER, LLP

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and Ammo Load Worldwide, Inc.

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By: /s/ Timothv A. Lukas
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Counsel for Z.B., N.A.

dba Zions First National Bank

GOLDSTEIN & MCCLINTOCK LLLP

By: /s/ Thomas R. Fawkes

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Counsel for the Ofi‘icial Committee of Unsecured
Creditors

 

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EXHIBIT “1”

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S'GSAl/m

SlG SAUER, INC.

72 PEASE BouLEvARD
NEW|NGTON, NH 03801 usA
P: +1 (603) 610-3000

F: +1 (603) 610-3001

DATE: 09/14/2018 10:14

 

Purchase Order

 

ORDER NUMBER

REV|S|ON

 

500151

 

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TH|S PURCHASE ORDER NO. MUST APPEAR ON ALL lNVOlCES, PACK|NG LISTS,
CARTONS AND CORRESPONDENCE RELATED TO TH|S ORDER.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Vendor: Ship To Bi|| To:
HOWELL MUN|T|ONS & TECHNOLOGY 357 SlG SAUER DR Attn: Accounts Payable Dept.
815 D Street Door "R" 72 Pease Blvd.
Lewistcn,|D 83501 JACKSONV|LLE, AR 72076 Newington, NH 03801
United States United States United States
VENDOR NO DATE OF ORDER/BUYER REV|SED DATEIBUYER
1016689 14-SEP-2018 B Rogers

B Rogers
PAYMENT TERMS SH|P VIA F.O.B.
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REQUESTED BYIDEL|VER TO CONF|RM TOITELEPHONE

Rogers. BJ ()

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Need By Date Promise Date Qty.
1
Note:

Note to Vendor: Total: 95,000.00

 

 

 

 

 

 

 

FLEAsE EMAIL ALL invoices ro ACCOUNTSPAYABLE@SiaSauer.com

All deliveries require a Certiticate of Compliance.
Please email all C of C documents to rts i t auer.Com.

Please See the Supplier section of our website, at the following address, for all relevant work instructions and procedures, as well as our Terms &

Conditions and Routing Guide. http://www.sigsager.com'suggliers

Any specific tenns agreed to on the Purchase Order will supersede and/or augment all others.

 

 

All Pn'ces and amounts on this order are expressed in USD

Through issue of this Purchase Order ("PO"), Sig Sauer intends to pay the amount
specified in return for the receipt of the goods and/or seNioes specitied in this PO.
Payments are subject to timely receipt of goods and/or services and associated

invoices.

 

B_BQgets
Buyer

lf this box is populated it has been tonnain authorized & approved by

Sig Sauer. Inc.

 

 

 

